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Attorneys for Plaintiff Xat.com Limited


                       IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH, CENTRAL DIVISION

                                              XAT.COM’S OPPOSITION TO
 XAT.COM LIMITED,                             DEFENDANT’S SHORT FORM
                                              MOTION TO COMPEL
           Plaintiff,                         PLAINTIFF’S REPRESENTATIVE
                                              TO APPEAR FOR A DEPOSITION
 v.                                           IN UTAH

 HOSTING SERVICES, INC. A/K/A
                                              Case No. 1:16-cv-00092
 100TB.COM,

           Defendant.                         Chief Magistrate Judge Paul M.
                                              Warner

                                              (TELEPHONIC HEARING
                                              REQUESTED)




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         100TB’s Motion should be denied for three reasons.

         First, the parties never met and conferred about the issue raised in the

motion. On August 21, the parties’ counsel discussed deposition dates for Xat’s

30(b)(6) witness. Xat’s counsel requested that the deposition be scheduled around

the date of the settlement conference to save time and expense or, if the deposition

could not be scheduled around the settlement conference, the deposition take place

in the United Kingdom. 100TB did not object.

         The Court scheduled the settlement conference for December 6. Afterwards,

100TB’s counsel suggested a call to discuss, inter alia, deposition dates for Xat’s

30(b)(6) witness. On the call, Xat’s counsel stated that Xat’s witness would attend

a deposition in Utah the day before or after the settlement conference, but only if

the settlement conference was not rescheduled. Again, 100TB did not object.

         On November 9, Xat filed a motion for determination of subject-matter

jurisdiction. In response, the Court cancelled the settlement conference.

         Accordingly, on November 14, Xat’s counsel emailed 100TB’s counsel

stating that—pursuant to the parties’ agreement—Xat would not be moving

forward with the deposition, but that Xat’s 30(b)(6) witness was available to be

deposed in Utah in connection with any rescheduled settlement conference or,

alternatively, in the United Kingdom. See 11/14/18 Email, Ex. A.

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         100TB never responded or met and conferred about scheduling Xat’s

30(b)(6) deposition. In fact, the parties’ counsel met and conferred on November

19 about other discovery issues but did not discuss the 30(b)(6) deposition.

Instead, 100TB filed this Motion without any notice.

         100TB’s failure to meet and confer is fatal to its Motion. Nunes v. Rushton,

No. 2:14-CV-627, 2015 WL 4921292, at *2 (D. Utah Aug. 18, 2015)

(unpublished); Clincy v. Transunion Corp., No. 2:14-CV-00398, 2015 WL

3490814, at *2 (D. Utah June 2, 2015) (unpublished); B & D Dental v. KOD Co.,

No. 2:13-CV-00236-TS-DBP, 2015 WL 461530, at *2 (D. Utah Feb. 3, 2015)

(unpublished).

         Second, pending before the Court is Xat’s motion for a determination of

subject-matter jurisdiction. As set forth therein, Xat recently discovered

information suggesting that 100TB’s principal place of business is the United

Kingdom, meaning the parties may not be diverse and the Court may lack subject-

matter jurisdiction over this dispute. The Court should resolve this jurisdictional

issue before addressing this Motion.

         Third, considering Xat was forced to litigate this case in Utah, and to save

time and expense for all parties, Xat should be permitted to coordinate with 100TB

to schedule its 30(b)(6) deposition in Utah in connection with the rescheduled

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settlement conference or other Court appearance or during the same trip that

100TB’s United Kingdom witnesses are deposed. See, e.g., Ellis Air Lines v.

Bellanca Aircraft Corp, 17 F.R.D. 395, 396 (D. Del. 1955); Abdullah v. Sheridan

Square Press, Inc., 154 F.R.D. 591, 593 (S.D.N.Y. 1994). Indeed, it would be

more economical for the parties to complete the United Kingdom depositions,

including Xat’s 30(b)(6) deposition, at one time. 100TB’s motion should be

denied on that basis alone.

                           REQUEST FOR ADDITIONAL BRIEFING

         To the extent the Court is inclined to rule on the Motion without requiring

the parties to meet and confer or before a ruling on the pending jurisdictional

motion issues, Xat requests additional briefing on whether Xat’s witness should be

required to be deposed in Utah. 1

         DATED: November 29, 2018.

                                                   STOEL RIVES LLP


                                                   /s/ Jordan C. Bledsoe
                                                   David L. Mortensen
                                                   Jordan C. Bledsoe



   1
    Xat objects to 100TB’s use of a declaration in support of its Motion to make additional
arguments and circumvent DUCivR 37-1’s word limit.


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                           CERTIFICATE OF SERVICE

         I hereby certify that on November 29, 2018, I caused a true and correct copy

of the foregoing to be served by CM/ECF and/or electronic mail to:

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                                               /s/ Robin Noss




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